

Matter of Cohen (2024 NY Slip Op 01237)





Matter of Cohen


2024 NY Slip Op 01237


Decided on March 7, 2024


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:March 7, 2024

PM-32-24
[*1]In the Matter of Jonathan Michael Cohen, an Attorney. (Attorney Registration No. 2351070.)

Calendar Date:February 26, 2024

Before:Garry, P.J., Egan Jr., Reynolds Fitzgerald, Ceresia and McShan, JJ.

Jonathan Michael Cohen, Bennington, Vermont, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany (Alison M. Coan of counsel), for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Jonathan Michael Cohen was admitted to practice by this Court in 1990 and lists a business address in Bennington, Vermont with the Office of Court Administration. Cohen now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Cohen's application.
Upon reading Cohen's affidavit sworn to January 9, 2024 and filed January 12, 2024, and upon reading the February 22, 2024 correspondence in response by the Deputy Chief Attorney for AGC, and having determined that Cohen is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Garry, P.J., Egan Jr., Reynolds Fitzgerald, Ceresia and McShan, JJ., concur.
ORDERED that Jonathan Michael Cohen's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Jonathan Michael Cohen's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Jonathan Michael Cohen is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Cohen is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Jonathan Michael Cohen shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








